             Case 1:19-cr-00236-JLT-SKO Document 43 Filed 06/26/20 Page 1 of 2



 1   JOHN F. GARLAND #117554
     Attorney at Law
 2   2950 Mariposa Street, Suite 130
     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   RALPH GONZALES
 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:19-CR-00236 NONE-SKO

11           Plaintiff,                                        STIPULATION TO MODIFY
                                                               CONDITIONS OF PRETRIAL
12                  v.                                         RELEASE AND SUPERVISION
                                                               AND ORDER THEREON
13   RALPH GONZALES,

14          Defendant.

15
16          Defendant, RALPH GONZALES, by and through his counsel, John F. Garland and the
17
     United States of America, by and through its counsel, McGregor W. Scott, United States Attorney
18
     and Kathleen A. Servatius, Assistant United States Attorney, hereby stipulate that the conditions
19
     of release of defendant RALPH GONZALES ordered by this Court on November 1, 2019 (Doc.
20
21   17) be modified to include the following special conditions:

22         1. You must participate in the substance abuse treatment program at Westcare
              inpatient facility, and comply with all the rules and regulations of the program.
23
             You must remain at the inpatient facility until released by the Pretrial Services
24           Officer.
                     a. A responsible party, approved by Pretrial Services, must escort
25                      you to all required court hearings and escort you back to the
                        inpatient facility upon completion of the hearing.
26
27         2. You must refrain from any use of alcohol or any use of a narcotic drug or
              other controlled substance without a prescription by a licensed medical practitioner;
28
                                                          1
     ___________________________________________________________________________________________________________________
              Case 1:19-cr-00236-JLT-SKO Document 43 Filed 06/26/20 Page 2 of 2


              and you must notify Pretrial Services immediately of any prescribed medication(s).
 1            However, medicinal marijuana prescribed and/or recommended may not be used.
 2
           3. All prior orders of the Court not in conflict with the above special conditions
 3            remain in full force and effect.

 4
           The reasons for the modification of release conditions are that in February 2020 the defendant
 5
 6   submitted two positive tests for the use of methamphetamine and the defendant recently admitted

 7   to the use of methamphetamine on June 21, 2020. Pretrial Services Officer Anthony Perez agrees
 8
     to the above modification of pretrial release conditions.
 9
10   Dated: June 24, 2020                                            /s/ John F. Garland
                                                                        John F. Garland
11
                                                                     Attorney for Defendant
12                                                                   RALPH GONZALES

13
     Dated: June 24, 2020                                            McGregor W. Scott
14
                                                                     United States Attorney
15
                                                                     /s/ Kathleen A. Servatius
16                                                             By:      Kathleen A. Servatius
                                                                       Assistant U.S. Attorney
17
18
                                                  ORDER
19
              GOOD CAUSE APPEARING, based on the stipulation of the parties,
20
21   IT IS HEREBY ORDERED that Pretrial Release conditions of defendant RALPH GONZALES

22   are modified as set forth above.
23
24   IT IS SO ORDERED.

25   Dated:      June 25, 2020
                                                                UNITED STATES MAGISTRATE JUDGE
26
27
28
                                                          2
     ___________________________________________________________________________________________________________________
